        Case 5:20-cv-06621-EJD Document 21 Filed 02/19/21 Page 1 of 2




 1
     STEPHEN M. LOBBIN
     sml@smlavvocati.com
 2   SML AVVOCATI P.C.
 3
     888 Prospect Street, Suite 200
     San Diego, California 92037
 4   (949) 636-1391 (Phone)
 5
     Attorney(s) for Plaintiff Display Technologies, LLC
 6

 7
     Michael Sacksteder
     Fenwick & West LLP
 8   555 California St.
 9
     San Francisco, CA 94104
     Email: msacksteder@fenwick.com
10   (417) 875-2450
11   Attorney(s) for Defendant Zenreach, Inc.
12
                     IN THE UNITED STATES DISTRICT COURT
13                FOR THE NORTHERN DISTRICT OF CALIFORNIA
14
                            SAN FRANCISCO DIVISION

15
     DISPLAY TECHNOLOGIES, LLC,                   Case No. 5:20-cv-06621-EJD
16

17                      Plaintiff,
                                                 NOTICE OF VOLUNTARY DISMISSAL
18                                                       WITH PREJUDICE
           v.
19

20   ZENREACH, INC.,
                                                  Hon. Edward J. Davila
21                     Defendant.
22

23   TO THE HON. EDWARD J. DAVILA, UNITED STATES DISTRICT JUDGE,
24   NORTHERN DISTRICT OF CALIFORNIA:
25
     Plaintiff Display Technologies, LLC hereby files this Notice of Voluntary Dismissal
26

27   With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i). According
28
                                                1
                         STIPULATION TO EXTEND TIME TO STAY DEADLINES
                                        5:20-CV-06621-EJD
        Case 5:20-cv-06621-EJD Document 21 Filed 02/19/21 Page 2 of 2




 1
     to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

 2   court by filing a notice of dismissal at any time before service by the adverse party of
 3
     an answer. Accordingly, Display Technologies, LLC hereby voluntarily dismisses this
 4

 5   action against Zenreach, Inc. with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each

 6   party to bear its own fees and costs.
 7

 8
     Dated: February 19, 2021                Respectfully submitted,

 9                                           /s/ Stephen M. Lobbin
10                                           Stephen M. Lobbin
                                             sml@smlavvocati.com
11                                           SML AVVOCATI P.C.
12                                           888 Prospect Street, Suite 200
                                             San Diego, California 92037
13                                           (949) 636-1391 (Phone)
14
                                             Attorney(s) for Plaintiff Display
15                                           Technologies, LLC
16

17

18

19

20

21

22

23

24

25

26

27

28
                                                 2
                          STIPULATION TO EXTEND TIME TO STAY DEADLINES
                                         5:20-CV-06621-EJD
